                                                            (SPACE BELOW FOR FILING STAMP ONLY)
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 3               PHONE (559) 233-2900
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 4
 5     ATTORNEYS FOR Defendant,
                 EDDY A. GEORGE
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10                                       * * * * * * * *
11   UNITED STATES OF AMERICA,                   Case No.: CR-F-03-5453 OWW
12               Plaintiff,
13        vs.                                    STIPULATION TO CONTINUE FILING
                                                   OF MOTION FOR NEW TRIAL AND
14   EDDY A. GEORGE,                                        SENTENCING
                                                               and
15               Defendant.                                O R D E R
16
17        IT IS HEREBY STIPULATED by and between attorneys for the
18   respective parties herein that the dates for the filing of
19   Motions for New Trial and the Sentencing be continued as follows:
20                                       Current Date                Continued Date
21   Filing of Motion for               November 15, 2005       December 15, 2005
       New Trial
22
     Government Response                December 5, 2005        January 5, 2006
23
     SENTENCING and MOTION              December 19, 2005       January 23, 2006
24     FOR NEW TRIAL                                                 1:30 p.m.
25        Counsel for all parties request this additional continuance
26   due to the fact that the requested Trial Transcript was just
27   received by counsel for Defendant GEORGE on or about September
28   16, 2005.    Counsel’s calendar has been such that he has not had
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 1   the opportunity to completely and thoroughly review the trial
 2   transcript in order to prepare his Motion for a New Trial.
 3        Counsel for Defendant GEORGE has spoken with other counsel
 4   in this matter relative to the length of time which is needed to
 5   review and prepare the motions.       They have all agreed that an
 6   additional month within which to review the Trial Transcript and
 7   prepare their motions for New Trial would be sufficient.
 8        Counsel for Defendant GEORGE has spoken with Assistant U. S.
 9   Attorney, KAREN ESCOBAR, as well as with all other defendant
10   attorneys, who are agreeable to this continuance.
11        DATED: November 8, 2005.
12                                     Respectfully submitted,
13                                     NUTTALL & COLEMAN
14
                                           /s/ Roger T. Nuttall
15                                     By: ___________________________
                                              ROGER T. NUTTALL
16                                          Attorneys for Defendant,
                                              EDDY A. GEORGE
17
          DATED: November 8, 2005.
18
                                            /s/ Karen Escobar
19                                     _______________________________
                                              KAREN ESCOBAR
20                                          Assistant U.S. Attorney
21        DATED: November 8, 2005.
22                                          /s/ Nicholas F. Reyes
                                       _______________________________
23                                            NICHOLAS F. REYES
                                          Attorney for Defendant,
24                                            RITO S. ZAZUETA
25        DATED: November 8, 2005.
26                                          /s/ Timothy B. Rote
                                       _______________________________
27                                            TIMOTHY B. ROTE
                                          Attorney for Defendant,
28                                            MICHAEL NOBARI

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 1       DATED: November 8, 2005.
 2                                       /s/ Ed Hunt
                                      _______________________________
 3                                           ED HUNT
                                       Attorney for Defendant,
 4                                           EDISON SHINO
 5
                             *********************
 6
                                    O R D E R
 7
 8       Good Cause Appearing,
 9       IT IS SO ORDERED.
10       DATED: November _9_____, 2005.
11
                                      /s/ OLIVER W. WANGER
12                                    _______________________________
                                             OLIVER W. WANGER
13                                    Judge, U. S. District Court
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